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           IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF PENNSYLVANIA

MADISON M. LARA, et al.        :
                               :
            Plaintiffs         :
                               :
v.                             :   Civil Action No. 2:20-cv-01582
                               :
COL. ROBERT EVANCHICK,         :
Commissioner of Pennsylvania   :
State Police                   :
                               :
            Defendant          :

              BRIEF IN SUPPORT OF PLAINTIFFS’
            MOTION FOR PRELIMINARY INJUNCTION
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                                       INTRODUCTION

       The Second Amendment right “to keep and bear Arms,” U.S. CONST. amend. II,

guarantees “the individual right to possess and carry weapons in case of confrontation,” District

of Columbia v. Heller, 554 U.S. 570, 592 (2008). The text and history of that provision, as well

as binding precedent, demonstrate that it applies outside the home. Yet the Pennsylvania

provisions challenged here, taken together, categorically forbid an entire class of law-abiding

adults—those who are 18-to-20 years old—from carrying loaded, operable firearms outside their

homes (or places of business), for no other or better reason than the ongoing “state of

emergency” due to the ongoing COVID-19 pandemic (and the opioid crisis). The widespread

presence of an infectious disease obviously does not justify special, draconian limits on the

Second Amendment right of 18-to-20-year-olds to bear arms, and this Court should preliminarily

enjoin the challenged restrictions.

       At age 18, Plaintiffs were deemed adults for almost all purposes and certainly for the

purpose of exercising constitutional rights. They became eligible to serve in the military—to

fight and die by arms for the country. Indeed, upon reaching 17, Plaintiff Miller was designated a

member of the militia by federal statute, 10 U.S.C. § 246(a), and at 18 he was required to register

for potential conscription to bear arms on behalf of his country, 50 U.S.C. § 3802(a). Yet under

the provisions challenged here, he and other 18-to-20-year-old Pennsylvanians are presently

forbidden to carry operable firearms outside their homes for “the core lawful purpose of self-

defense.” Heller, 554 U.S. at 630.

       There is no reasoned public-safety justification for this ban. Current FBI statistics

indicate that 18-to-20-year-olds are arrested for violent crimes no more frequently than, say, 21-

year-olds—and the percentage of wrongdoers in this age bracket who do commit violent crimes




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is an infinitesimal fraction of the age group as a whole. Indeed, Pennsylvania recognizes as

much, since it ordinarily freely allows 18-to-20-year-olds to carry firearms in public openly (with

the exception of in Philadelphia), without even requiring them to obtain a license. It is only

because of the currently active “states of emergency” arising from the coronavirus pandemic and

opioid epidemic—which trigger a statutory provision that effectively bans 18-to-20-year-olds

from carrying firearms “during an emergency,” 18 PA. C.S. § 6107 (a)—that Plaintiffs, and

others in their age group, are prohibited from exercising their Second Amendment right to bear

arms. Under the Supreme Court’s reasoning in Heller, this flat ban prohibiting virtually all 18-to-

20-year-old law-abiding citizens from bearing arms should be struck down categorically, without

resort to the tiers of constitutional scrutiny. And even setting Heller’s categorical test aside, and

without diminishing the urgency of slowing the spread of COVID-19 or combatting opioid

addiction, the notion that these public health crises justify banning an entire class of law-abiding

citizens from “carry[ing] weapons in case of confrontation,” Heller, 554 U.S. 592, does not pass

even rational basis review, much less the heightened scrutiny that applies where fundamental

constitutional rights are at stake. Plaintiffs are likely to succeed in challenging Pennsylvania’s

ban, and the Court should preliminarily enjoin it.

                                FACTUAL BACKGROUND

I.     Pennsylvania bans 18-to-20-year-old adults from carrying concealed
       firearms.

       Pennsylvania generally requires a license to carry a concealed firearm in public. Under 18

PA. C.S. § 6106 (a)(1), “any person who carries a firearm in any vehicle or any person who

carries a firearm concealed on or about his person, except in his place of abode or fixed place of

business, without a valid and lawfully issued license under [18 PA. C.S. § 6109] commits a

felony of the third degree.” Section 6106(b) provides a number of exceptions to this



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requirement—for law-enforcement officers, members of the military, and the like—but these

exceptions do not provide the typical, law-abiding Pennsylvanian with the ability to carry a

concealed, loaded, and operable firearm for most lawful purposes, including self-defense.

       Section 6106’s licensing requirement does not apply to carrying firearms openly, so it

ordinarily does not deprive those citizens unable to obtain a concealed-carry license of the ability

to carry a firearm in at least some manner. Section 6107, however, provides that “[n]o person

shall carry a firearm upon the public streets or upon any public property during an emergency

proclaimed by a State or municipal governmental executive unless that person is” either

“[a]ctively engaged” in self-defense or possesses a concealed carry license issued under Section

6109. 18 PA. C.S. § 6107. Pennsylvania is currently under two proclaimed “states of emergency”:

(1) an emergency related to the ongoing COVID-19 pandemic, which was proclaimed by

Governor Wolf on March 6, 2020,1 extended on August 31 to November 29,2 and in all

likelihood will be extended further until the end of the pandemic; and (2) a separate emergency

relating to the opioid epidemic, which was first proclaimed nearly three years ago on January 10,

20183 and has since been renewed over 10 times, most recently in an amendment on November

12 that extended the state of emergency until February 3, 2021.4 Since Section 6107 limits all

forms of carrying firearms in public—whether open or concealed—its effect, in conjunction with

these active declarations, is to require all ordinary citizens to obtain a license before carrying a



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firearm for most lawful purposes, including the purpose “of being armed and ready . . . in a case

of conflict with another person.” Heller, 554 U.S. at 584 (quoting Muscarello v. United States,

524 U.S. 125, 143 (1998) (Ginsburg, J., dissenting)).

           The availability of the license required by Sections 6106 and 6107 is governed by 18 PA.

C.S. § 6109. Section 6109 provides that an individual seeking a concealed carry license must

submit an application to his local sheriff, who is then required to investigate the applicant’s

criminal history, character, and reputation, to ensure that he meets a number of statutory

requirements, including the absence of any mental illness or conviction for certain controlled-

substance violations or any crime carrying a sentence exceeding one year. See id. § 6109 (e)(1).

Importantly for present purposes, Section 6109 limits the availability of a concealed carry license

to “[a]n individual who is 21 years of age or older.” Id. § 6109(b).

           Taken together, Sections 6106, 6107, and 6109—in conjunction with the Governor’s

ongoing, statewide emergency declarations—thus operate to bar virtually all 18-to-20-year-old

adult Pennsylvanians from carrying loaded, operable firearms for most lawful purposes,

including the purpose of being prepared to defend themselves and their families from violent

assault.

II.        The ban prohibits Plaintiffs from carrying concealed firearms.

           Plaintiffs Lara, Miller, and Knepley are United States Citizens and residents of

Pennsylvania. Lara Decl. ¶ 1, Compl. ¶ 20; Miller Decl. ¶ 1, Compl. ¶ 21; Knepley Decl. ¶ 1,

Compl. ¶ 22. They are over the age of 18 but under the age of 21. Lara Decl. ¶ 1; Miller Decl. ¶

1; Knepley Decl. ¶ 1. Plaintiffs Lara, Miller, and Knepley are not under indictment, have not

been convicted of a crime involving controlled substances or domestic violence, have not been

convicted of a crime punishable by more than one year, and do not otherwise fail to meet the

requirements for the issuance of a concealed carry license set forth in 18 PA. C.S. § 6109(e). Lara


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Decl. ¶ 1; Miller Decl. ¶ 1; Knepley Decl. ¶ 1. But for their ages, Plaintiffs Lara, Miller, and

Knepley would thus be eligible to obtain a license under Section 6109. Lara Decl. ¶ 5; Miller

Decl. ¶ 5; Knepley Decl. ¶ 5.

       Plaintiffs Lara, Miller, and Knepley wish to carry loaded, operable firearms outside their

homes and places of business for lawful purposes, including the purpose of being armed and

ready for self-defense. Lara Decl. ¶ 3; Miller Decl. ¶ 3; Knepley Decl. ¶ 3. Plaintiff Knepley, for

example, attends Alvernia College in Reading, Pennsylvania; she lawfully owns a handgun and

wishes to carry it with her when in public, because the high crime in her area makes her fear for

her safety. Knepley Decl. ¶ 10. But for the challenged provisions of Sections 6106, 6107, and

6109, Knepley, and Plaintiffs Lara and Miller, would carry loaded, operable firearms outside

their homes and places of business, for lawful purposes including the purpose of self-defense,

either (1) openly, or (2) by obtaining a concealed-carry license. Lara Decl. ¶ 10; Miller Decl. ¶

10; Knepley Decl. ¶ 12. They refrain from doing so only because of their fears of prosecution

under Sections 6106 and 6107. Lara Decl. ¶ 10; Miller Decl. ¶ 10; Knepley Decl. ¶ 12.

       Plaintiffs Second Amendment Foundation (“SAF”) and Firearms Policy Coalition

(“FPC”) are non-profit organizations founded for and dedicated to the purpose of defending and

promoting the fundamental, Second Amendment right to keep and bear arms through advocacy,

litigation, education, and other programs. Gottlieb Decl. ¶¶ 3-4; Combs Decl. ¶ 4-7. Both

organizations have members throughout the United States, including members who reside in

Pennsylvania. Gottlieb Decl. ¶ 5; Combs Decl. ¶ 8. Some of those Pennsylvania members—

including Plaintiffs Lara, Miller, and Knepley—are 18 to 20 years old, wish to carry loaded

firearms in public for lawful purposes including self-defense, and would do so forthwith but for

the challenged provisions. Gottlieb Decl. ¶ 6; Combs Decl. ¶ 8.




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       Plaintiffs Lara, Miller, Knepley, and those similarly situated can vote, serve on a jury,

hold public office, marry, sign legally binding contracts, join or potentially be drafted into the

armed forces or called upon for state militia service, and even be held fully accountable before

the law for criminal matters—including, ironically, numerous firearms-related offenses—to the

point of being executed, see 18 U.S.C. § 3591. Yet they are completely prohibited, on pain of

criminal punishment, from carrying firearms in public for the purpose of self-protection.

                                          ARGUMENT

       A plaintiff seeking preliminary injunctive relief must demonstrate (1) a likelihood of

success on the merits and (2) a prospect of irreparable injury if the injunction is not granted.

Reilly v. City of Harrisburg, 858 F.3d 173, 176 (3d Cir. 2017). In addition, “the district court . . .

should take into account, when they are relevant, (3) the possibility of harm to other interested

persons from the grant or denial of the injunction, and (4) the public interest.” Id. Here, all four

factors favor issuing a preliminary injunction.

I.     Plaintiffs are likely to succeed on the merits.

       The Second Amendment provides: “A well regulated Militia, being necessary to the

security of a free State, the right of the people to keep and bear Arms, shall not be infringed.”

U.S. CONST. amend. II. This constitutional provision “guarantee[s] the individual right to possess

and carry weapons in case of confrontation,” Heller, 554 U.S. at 592, a right that applies to

Pennsylvania via the Fourteenth Amendment, McDonald v. City of Chicago, 561 U.S. 742, 778,

791 (2010) (plurality opinion). The Third Circuit has established “a two-pronged approach to

Second Amendment challenges.” United States v. Marzzarella, 614 F.3d 85, 89 (3d Cir. 2010).

“First, [courts] ask whether the challenged law imposes a burden on conduct falling within the

scope of the Second Amendment’s guarantee . . . . [Second,] [i]f it does, [they] evaluate the law




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under some form of means-end scrutiny.”5 Id. Here, text, history, and tradition uniformly show

that the Second Amendment squarely protects the right of 18-to-20-year-olds to carry firearms

outside the home for self-defense. The provisions of Pennsylvania law banning that conduct

cannot stand.

       A.       The Second Amendment protects the right of 18-to-20-year-old law-abiding
                adults to carry firearms outside the home for self-defense.

       Because the challenged statutory provisions ban virtually all 18-to-20-year-olds from

carrying firearms outside the home (or their places of business) for self-defense, whether it

burdens “conduct falling within the scope of the Second Amendment’s guarantee,” id., depends

on the questions whether that guarantee (1) protects the right to carry firearms in public for self-

defense, and (2) applies to law-abiding 18-to-20-year-old citizens. Text, precedent, and history

indicate that the answer to both questions is yes.

                1.     The right to keep and bear arms extends outside the home.

       i.       The text of the Second Amendment leaves no doubt that it applies outside the

home. The substance of the Second Amendment right reposes in the twin verbs of the operative

clause: “the right of the people to keep and bear Arms, shall not be infringed.” U.S. CONST.

amend. II (emphasis added). Because “[t]o speak of ‘bearing’ arms within one’s home would at

all times have been an awkward usage,” the Constitution’s explicit inclusion of the “right to bear

arms thus implies a right to carry a loaded gun outside the home.” Moore v. Madigan, 702 F.3d

933, 936 (7th Cir. 2012). Indeed, interpreting the Second Amendment as confined to the home

would read the second of these guarantees—the right to bear arms—out of the Constitution’s text



       5
        Plaintiffs reserve the right to argue in subsequent proceedings that a tiers-of-scrutiny
approach is not appropriate in Second Amendment cases like this one. See Heller v. District of
Columbia, 670 F.3d 1244, 1271–85 (D.C. Cir. 2011) (Heller II) (Kavanaugh, J., dissenting).



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altogether, for the right to keep arms standing alone would be sufficient to protect the right to

have arms in the home.

       ii.     Confining the right to keep and bear arms to the home would also be at war with

precedent. The Supreme Court’s decision in “Heller repeatedly invokes a broader Second

Amendment right than the right to have a gun in one’s home.” Moore, 702 F.3d at 935–36. For

instance, Heller squarely holds that the Second Amendment “guarantee[s] the individual right to

possess and carry weapons in case of confrontation,” 554 U.S. at 592 (emphasis added), and it

defines the key constitutional phrase “bear arms” as to “ ‘wear, bear, or carry . . . upon the person

or in the clothing or in a pocket, for the purpose . . . of being armed and ready for offensive or

defensive action in a case of conflict with another person,’ ” id. at 584 (alteration in original)

(quoting Muscarello, 524 U.S. at 143 (Ginsburg, J., dissenting)). Heller’s indication that “laws

forbidding the carrying of firearms in sensitive places such as schools and government

buildings” are “presumptively lawful” also implicitly recognizes a general right to bear arms in

public; otherwise there would be no need to identify exceptions. Id. at 626, 627 n.26. Moreover,

Heller extensively cites and significantly relies upon Nunn v. State, a nineteenth-century Georgia

case that “struck down a ban on carrying pistols openly” under the Second Amendment. Id. at

612; see also Caetano v. Massachusetts, 136 S. Ct. 1027 (2016) (vacating state court ruling that

the Second Amendment does not protect the right to carry a stun gun in public).

       In Drake v. Filko, the Third Circuit “decline[d] to definitively declare that the individual

right to bear arms for the purpose of self-defense extends beyond the home,” choosing instead to

assume for the sake of analysis that the Amendment has “some application beyond the home.”

724 F.3d 426, 431 (3d Cir. 2013). That assumption is consistent with the persuasive authority

from other federal courts. Two circuit courts have directly held that the Second Amendment right




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to armed self-defense does not give out at the doorstep. See Wrenn v. District of Columbia, 864

F.3d 650, 661 (D.C. Cir. 2017); Moore, 702 F.3d at 935, 942. And no federal court of appeals

has held that the Amendment does not apply outside the home.

       iii.    The very purposes behind the Second Amendment’s codification show that it

must protect the carrying of arms outside the home. As announced by its “prefatory” clause, and

discussed at greater length below, the Amendment was designed in part “to prevent elimination

of the militia.” Heller, 554 U.S. at 599. A right to bear arms limited to the home would be ill-

suited to “rearing up and qualifying a well-regulated militia,” id. at 612 (quoting Nunn v. State, 1

Ga. 243, 251 (1846)), for citizens prohibited from carrying arms in public simply could not act as

the militia at all. Of course, the militia was not “the only reason Americans valued the ancient

right; most undoubtedly thought it even more important for self-defense and hunting.” Id. at 599.

Hunting obviously cannot be conducted by those bearing arms within their homes. And the same

reasoning applies with even more force to the right to self-defense—“the central component” of

the Second Amendment, id. at 599, which “is as important outside the home as inside,” Moore,

702 F.3d at 942. Indeed, according to 2019 nationwide data from the Bureau of Justice Statistics,

less than a third of violent crimes occur in or near the victim’s home.6

       iv.     Finally, the historical understanding of the right to keep and bear arms

conclusively confirms that it extends outside the home.

       As McDonald v. City of Chicago explains, “[s]elf-defense is a basic right, recognized by

many legal systems from ancient times to the present day.” 561 U.S. 742, 767 (2010). And

because the need for self-defense may arise in public, it has long been recognized that the right

       6
        Bureau of Justice Statistics, Percent of violent victimizations by location of incident,
1993-2019, (Nov. 11, 2020), generated using the NCVS Victimization Analysis Tool at
www.bjs.gov.



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to self-defense may be exercised in public. Thus, “[i]f any person attempts a robbery or murder

of another, or attempts to break open a house in the night time, . . . and shall be killed in such

attempt, the slayer shall be acquitted and discharged.” 4 WILLIAM BLACKSTONE, COMMENTARIES

*180 (emphasis added). “Sergeant William Hawkins’s widely read Treatise of the Pleas of the

Crown,” Atwater v. City of Lago Vista, 532 U.S. 318, 331 (2001), likewise explained that “the

killing of a Wrong-doer . . . may be justified . . . where a Man kills one who assaults him in the

Highway to rob or murder him,” 1 WILLIAM HAWKINS, A TREATISE OF THE PLEAS OF THE CROWN

71 (1716). And because the right to self-defense was understood to extend beyond the home, the

right to armed self-defense naturally was as well. Accordingly, by the late seventeenth century

the English courts recognized that it was the practice and privilege of “gentlemen to ride armed

for their security.” Rex v. Knight, 90 Eng. Rep. 330 (K.B. 1686).

       That understanding was shared on this side of the Atlantic. Indeed, “about half the

colonies had laws requiring arms-carrying in certain circumstances,” such as when traveling.

NICHOLAS J. JOHNSON & DAVID B. KOPEL ET AL., FIREARMS LAW & THE SECOND AMENDMENT

106–08 (2012) (emphasis added). Plainly, if the law imposed on individuals a duty to bear arms

“for public-safety reasons,” Heller, 554 U.S. at 601, it necessarily conferred a corresponding

right to do so. And that understanding endured in the next century, both before and after the

Revolution. Indeed, as Judge St. George Tucker observed in 1803, “[i]n many parts of the United

States, a man no more thinks, of going out of his house on any occasion, without his rifle or

musket in his hand, than an European fine gentleman without his sword by his side.” 5 WILLIAM

BLACKSTONE, COMMENTARIES App. n.B, at 19 (St. George Tucker ed., 1803). And Tucker made

clear that Congress would exceed its authority were it to “pass a law prohibiting any person from

bearing arms.” 1 id. App. n.D, at 289.




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          The practices of the Founding generation confirm that the right to carry arms was well-

established. George Washington, for example, carried a firearm on an expedition into the Ohio

Country. WILLIAM M. DARLINGTON, CHRISTOPHER GIST’S JOURNALS 85–86 (1893). Thomas

Jefferson advised his nephew to “[l]et your gun . . . be the constant companion of your walks,” 1

THE WORKS OF THOMAS JEFFERSON 398 (letter of Aug. 19, 1785) (H. A. Washington ed., 1884),

and Jefferson himself traveled with pistols for self-protection and designed a holster to allow for

their ready retrieval, see Firearms, Monticello, https://goo.gl/W6FSpM. Even in defending the

British soldiers charged in the Boston Massacre, John Adams conceded that, in this country,

“every private person is authorized to arm himself; and on the strength of this authority I do not

deny the inhabitants had a right to arm themselves at that time for their defence.” John Adams,

First Day’s Speech in Defence of the British Soldiers Accused of Murdering Attucks, Gray and

Others, in the Boston Riot of 1770, in 6 MASTERPIECES OF ELOQUENCE 2569, 2578 (Hazeltine et

al. eds., 1905). And as an attorney, Patrick Henry regularly carried a firearm while walking from

his home to the courthouse. HARLOW GILES UNGER, LION OF LIBERTY 30 (2010). This

understanding was also reflected in contemporary judicial decisions. As the panel decision in

Peruta v. County of San Diego concluded after an exhaustive survey of the early-American case

law, although “some courts approved limitations on the manner of carry outside the home, none

approved a total destruction of the right to carry in public.” 742 F.3d 1144, 1160 (9th Cir. 2014),

vacated, 781 F.3d 1106 (9th Cir. 2015) (en banc); see also, e.g., Nunn, 1 Ga. at 243, 249–51;

State v. Reid, 1 Ala. 612, 616–17 (1840); Bliss v. Commonwealth, 12 Ky. (2 Litt.) 90, 91–93

(1822).

          To be sure, the right to bear arms is not a right to “carry any weapon whatsoever in any

manner whatsoever and for whatever purpose.” Heller, 554 U.S. at 626. For example, in the pre-




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history of the Second Amendment, the medieval Statute of Northampton provided that “no man

great nor small” shall “go nor ride armed by night nor by day, in fairs, markets, nor in the

presence of the justices or other ministers, nor in no part elsewhere.” 2 Edw. 3, 258, c. 3 (1328).

But by the seventeenth century the courts and commentators had conclusively interpreted the

provision as limited to “prohibiting the carrying of ‘dangerous and unusual weapons,’ ” Heller,

554 U.S. at 627—weapons not protected by the right to keep and bear arms, id. at 623–24, 627—

or otherwise “go[ing] armed to terrify the King’s subjects,” Sir John Knight’s Case, 87 Eng.

Rep. 75, 76 (K.B. 1686). And this rule was not understood as extending to the ordinary carrying

of weapons “usually worne and borne,” WILLIAM LAMBARD, EIRENARCHA 135 (1588), unless

“accompanied with such circumstances as are apt to terrify the people,” 1 HAWKINS, supra, at

136.

       Early American courts and commentators shared this understanding of the scope of the

right to bear arms in self-defense. For instance, James Wilson, a leading Framer and Supreme

Court Justice, explained in his widely read Lectures on Law that it was unlawful only to carry

“dangerous and unusual weapons, in such a manner, as will naturally diffuse a terrour among the

people.” 3 JAMES WILSON, THE WORKS OF THE HONOURABLE JAMES WILSON 79 (1804). After

all, as another commentator explained, “in this country the constitution guaranties to all persons

the right to bear arms; then it can only be a crime to exercise this right in such a manner, as to

terrify the people unnecessarily.” CHARLES HUMPHREYS, A COMPENDIUM OF THE COMMON LAW

IN FORCE IN KENTUCKY 482 (1822); see also State v. Huntly, 25 N.C. 418, 422–23 (1843);

Simpson v. State, 13 Tenn. 356, 359–60 (1833).

       This reading of the Second Amendment persisted throughout the nineteenth century.

Reconstruction Era views are “instructive” evidence of the Second Amendment’s scope because




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they reflect “the public understanding of [the Amendment] in the period after its enactment.”

Heller, 554 U.S. at 605, 614. Those who wrote and ratified the Fourteenth Amendment

understood the right to bear arms to protect the carrying of firearms outside the home for self-

defense.

       For decades before the Civil War, the southern States had schemed at every turn to

prevent their enslaved and free black populations from bearing arms. An 1832 Delaware law, for

example, forbade any “free negroes [or] free mulattoes to have own keep or possess any Gun [or]

Pistol,” unless they first received a permit from “the Justice of the Peace” certifying “that the

circumstances of his case justify his keeping and using a gun.” Act of Feb. 10, 1832, sec. 1, Del.

Laws 180 (1832); see also Robert J. Cottrol & Raymond T. Diamond, The Second Amendment:

Toward an Afro-Americanist Reconsideration, 80 GEO. L.J. 309, 336–38 (1991) (citing similar

laws in Texas, Mississippi, Louisiana, South Carolina, Maryland, Virginia, and Georgia). Indeed,

Chief Justice Taney recoiled so strongly from recognizing African Americans as citizens in the

infamous Dred Scott case precisely because he understood that doing so would entitle them “to

keep and carry arms wherever they went.” Dred Scott v. Sandford, 60 U.S. (19 How.) 393, 417

(1857). After the Civil War, these noxious efforts to suppress the rights of former slaves to carry

arms for self-defense continued. Mississippi’s notorious “Black Code,” for example, forbade any

“freedman, free negro or mulatto” to “keep or carry fire-arms of any kind.” An Act To Punish

Certain Offences Therein Named, and for Other Purposes, ch. 23, § 1, 1865 Miss. Laws 165.

Similar restrictions were enacted in Louisiana and Alabama, Cottrol & Diamond, supra, at 344–

45, and throughout the South, 1 WALTER L. FLEMING, DOCUMENTARY HISTORY                          OF

RECONSTRUCTION 279–80 (1906).




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          As the Supreme Court explained at length in McDonald, the Reconstruction Congress

labored mightily to entomb this legacy of prejudice. See 561 U.S. at 770–77. Congress’s efforts

culminated in the adoption of the Fourteenth Amendment, which ensured the right of every

American, regardless of race, to “bear arms for the defense of himself and family and his

homestead.” CONG. GLOBE, 39th Cong., 1st Sess. 1182 (1866) (statement of Sen. Pomeroy); see

also McDonald, 561 U.S. at 775–76.

                2.     The Second Amendment extends to 18-to-20-year-old adults.

          The text and history of the Second Amendment make equally clear that the rights it

protects—including the right to bear arms outside the home for self-defense—are fully vested by

age 18.

          i.    The Second Amendment protects “the right of the people to keep and bear Arms,”

U.S. CONST. amend. II (emphasis added), and the “people” referred to in the Bill of Rights have

always been understood to be “the whole people,” THOMAS MCINTYRE COOLEY, GENERAL

PRINCIPLES OF CONSTITUTIONAL LAW IN THE UNITED STATES OF AMERICA 267–68 (1880); see

also Heller, 554 U.S. at 580. Heller accordingly held that “the Second Amendment right is

exercised individually and belongs to all Americans” and cannot be limited to “an unspecified

subset.” Id. at 580, 581. “ ‘The right of the whole people, old and young, men, women and boys,

and not militia only, to keep and bear arms of every description, and not such merely as are used

by the militia, shall not be infringed, curtailed, or broken in upon, in the smallest degree.’ ” Id. at

612-13 (quoting with approval Nunn v. Georgia, 1 Ga. 243, 250 (1846) (emphasis added)).

          ii.   Founding-Era history and tradition confirm that 18-to-20-year-old adult citizens

fall squarely within the Second Amendment’s protective sphere. To be sure, the rights of actual

children may be restricted in ways that adults’ may not. See Planned Parenthood v. Danforth,




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428 U.S. 52, 72-75 (1976). But Founding-Era history demonstrates that 18-to-20-year-olds are

not to be treated as children for purposes of the Second Amendment.

       The strongest historical evidence on this point comes from the Founding-Era

understanding of militia service. Although the Second Amendment’s prefatory clause cannot be

read to “limit or expand the scope of the operative clause,” “[l]ogic demands that there be a link

between the stated purpose and the command.” Heller, 554 U.S. at 577, 578. The prefatory

clause—“A well regulated Militia, being necessary to the security of a free State”—“announces

the purpose for which the right was codified: to prevent elimination of the militia.” Heller, 554

U.S. at 599. Therefore, the Framers’ understanding of the militia is highly probative in

determining whether 18-to-20-year-olds enjoy Second Amendment rights. After all, if this class

of adult citizens were originally understood to be capable of keeping and bearing arms—and

were in fact required by law to do so as part of their militia service—it necessarily follows that

these 18-to-20-year-old citizens also enjoyed a Second Amendment right to engage in this

conduct. See A Pennsylvanian, THE PENNSYLVANIA GAZETTE (Philadelphia, Feb. 20, 1788),

reprinted in LES ADAMS, THE SECOND AMENDMENT PRIMER 121 (1996). For it would simply

make no sense to enumerate a constitutional right to arms for the purpose of ensuring an armed

militia if that right did not protect the militia’s own members.

       There is no doubt that 18-to-20-year-olds were understood to be part of the militia at the

time the Second Amendment was adopted. This is apparent from Congress’s initial exercise of

its power to “provide for organizing, arming, and disciplining, the militia.” U.S. CONST. art. I, §

8. On May 8, 1792, mere months after ratification of the Second Amendment, Congress passed

an Act providing that “every free able-bodied white male citizen . . . who is or shall be of the age

of eighteen years, and under the age of forty-five years (except as is herein after excepted) shall




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severally and respectively be enrolled in the militia.” 1 Stat. 271 (“Militia Act”) (emphasis

added). Because the term “ ‘militia’ means the same thing in Article I and the Second

Amendment,” Congress’s authority over the militia under Article I, Section 8 extends only to the

same “body” or “pool” of Americans who constitute the militia for purposes of the Second

Amendment—and who hence are among those entitled to keep and bear arms: namely, “all able-

bodied men.” Heller, 554 U.S. at 596.

          As a contemporaneous act of Congress, the Militia Act provides extraordinarily powerful

evidence that Second Amendment rights vest at age 18. “[M]any of the members of the Second

Congress were also members of the First, which had drafted the Bill of Rights. But more

importantly, they were conversant with the common understanding of both the First Congress

and the ratifying state legislatures as to what was meant by ‘Militia’ in the Second Amendment.”

Parker v. District of Columbia, 478 F.3d 370, 387 (D.C. Cir. 2007), aff’d by Heller, 554 U.S.

570.

          The legislative history of the Militia Act lends further support. In 1790, Secretary of War

Henry Knox submitted a militia plan to Congress providing that “all men of the legal military

age should be armed,” and that “[t]he period of life in which military service shall be required of

the citizens of the United States [was] to commence at eighteen.” 2 ANNALS OF CONGRESS 2146

(Joseph Gales ed., 1834). Acknowledging that “military age has generally commenced at

sixteen,” Secretary Knox instead drew the line at 18 because “the youth of sixteen do not

commonly attain such a degree of robust strength as to enable them to sustain without injury the

hardships incident to the field.” Id. at 2153. Representative Jackson explained “that from

eighteen to twenty-one was found to be the best age to make soldiers of.” Id. at 1860 (emphasis

added).




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       Eighteen is also the age that George Washington recommended for beginning militia

enrollment. In an enclosure to a 1783 letter to Alexander Hamilton, General Washington—who

as President signed the 1792 Militia Act into law—wrote that “the Citizens of America . . . from

18 to 50 Years of Age should be borne on the Militia Rolls” and “so far accustomed to the use of

[Arms] that the Total strength of the Country might be called forth at a Short Notice on any very

interesting Emergency.” Sentiments on a Peace Establishment (May 2, 1783), reprinted in 26

THE WRITINGS OF GEORGE WASHINGTON 389 (John C. Fitzpatrick, ed. 1938).

       State militia laws enacted around the time of the Second Amendment provide additional

evidence. Minimum enrollment ages ranged from 16 to 18. See David B. Kopel & Joseph G.S.

Greenlee, The Second Amendment Rights of Young Adults, 43 S. ILL. U. L.J. 495, 533–89 (2019).

There was thus a consensus in the States that, by age 18, individuals were able to, and hence

entitled to, bear arms. This followed colonial practice: “From the earliest times the duty to

possess arms was imposed on the entire colonial populace, with actual militia service

contemplated for every male of 15, 16, or 18 through 45, 50, or 60 (depending on the colony).”

Don B. Kates Jr., Handgun Prohibition and the Original Meaning of the Second Amendment, in

GUN CONTROL AND THE CONSTITUTION 66, 77 n.46 (Robert J. Cottrol ed., 1994). Plaintiffs are

unaware of even a single State that exempted 18-to-20-year-olds from militia service at the time

the Second Amendment was ratified. Indeed, a comprehensive survey of over 250 separate state

and colonial provisions enacted from the seventeenth through the end of the eighteenth century

found that the minimum “age for militia duty” was most commonly either 16 or 18, “and never

higher (except for one 19-year period in Virginia [between 1738 and 1757]).” Kopel & Greenlee,

supra, at 533. cf. 51 Pa.C.S. § 301 (declaring the Militia of the Commonwealth to consist of

able-bodied persons “17 years six months of age and….not more than 55 years of age…).




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          The Supreme Court has recognized that militia membership presupposed firearm

possession, because “when called for service these men were expected to appear bearing arms

supplied by themselves.” United States v. Miller, 307 U.S. 174, 179 (1939) (emphasis added).

This is illustrated by the Militia Act, which required each enrollee, regardless of age, to “provide

himself with a good musket or firelock.” 1 Stat. 271. Several state laws contained similar

provisions. Kopel & Greenlee, supra, at 507–08. These requirements confirm the Founders’

shared understanding that Second Amendment rights vest at 18, because they demonstrate that,

by that age, individuals not only (i) were entrusted with using firearms in connection with

organized militia activities, but also (ii) were expected to keep and maintain those arms as

private citizens.

          To be sure, at the Founding the common-law “age of majority” for some legal purposes

was 21, rather than the modern standard of 18. But it is important to understand that in the

Founding Era (as is still true today), age requirements were “different for different purposes.” 1

BLACKSTONE COMMENTARIES *463. At age 14, for example, individuals were deemed capable of

discerning right from wrong and could be “capitally punished for any offense.” Id. at *463-64.

Likewise, even though 18-to-20-year-olds would have been considered “minors” for some

purposes at the Founding, the historical evidence just surveyed leaves no doubt that the purpose

of keeping and bearing arms was not one of them. To the contrary, adults aged 18 and up would

contemporaneously have been affirmatively required, by statutes enacted by colonial, state and

federal legislatures, to keep and bear arms so that they could fulfill their obligatory militia

duties.




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       B.      The Pennsylvania laws barring 18-to-20-year-old citizens from carrying
               firearms are categorically unconstitutional.

       Given that the Second Amendment protects the rights of law-abiding 18-to-20-year-old

citizens to carry firearms for self-defense outside the home, Heller makes the next analytical

steps clear. Because “[t]he very enumeration of the right takes out of the hands of government—

even the Third Branch of Government—the power to decide on a case-by-case basis whether the

right is really worth insisting upon,” wholesale infringements upon rights safeguarded by the

Amendment must be held unconstitutional categorically, not “subjected to a freestanding

‘interest-balancing’ approach.” Heller, 554 U.S. at 634–35. Defendants’ prohibition on the right

of an entire subset of law-abiding citizens to bear arms for the purpose of self-defense is just

such an infringement of core Second Amendment conduct. Accordingly, it is flatly

unconstitutional.

       Heller requires per se invalidation of broad bans that strike at the heart of the Second

Amendment. In Heller, the Supreme Court declined the invitation to analyze the ban on

possessing handguns at issue under “an interest-balancing inquiry” based on the

“approach . . . the Court has applied . . . in various constitutional contexts, including election-law

cases, speech cases, and due process cases,” 554 U.S. at 689–90 (Breyer, J., dissenting), ruling

instead that the right to keep and bear arms was “elevate[d] above all other interests” the moment

that the People chose to enshrine it in the Constitution’s text, id. at 635 (majority opinion). And

in McDonald, the Court reaffirmed that Heller had “expressly rejected the argument that the

scope of the Second Amendment right should be determined by judicial interest balancing.” 561

U.S. at 785 (plurality opinion).

       The ban effected by Sections 6106, 6107, and 6109 is just as extensive and categorical as

the one struck down in Heller. Except for those favored few who fall into one of Pennsylvania’s



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atypical exceptions for law-enforcement officers, military personnel, and the like, see 18 PA. C.S.

§ 6106(b), all adult Pennsylvania citizens are, at present, flatly prohibited from carrying an

operable firearm in public for self-defense until they reach the age of 21. Compare Heller, 554

U.S. at 575 n.1 (noting that D.C.’s ban contained “minor exceptions”), with id. at 636

(categorically invalidating the ban anyway).

       It is also no answer to point to Section 6107’s exception for an individual “[a]ctively

engaged in a defense of that person’s life or property.” 18 PA. C.S. § 6107(a)(1). The Second

Amendment protects the right to “ ‘be[ ] armed and ready’ ” “in case of confrontation,” Heller,

554 U.S. at 584, 592 (quoting Muscarello, 524 U.S. at 143) (emphases added). Under the

challenged provisions, Plaintiffs must leave their firearms at home except in such narrow

circumstances as when they are transporting them from their place of business, between homes,

or from the gun or repair shop—and even then their firearms must be “not loaded” and “in a

secure wrapper.” 18 PA. C.S. § 6106(b)(8). These limits utterly vitiate the “actively engaged in

self-defense” proviso. Criminal assailants are not in the habit of confining their attacks to those

individuals traveling to or from the gun shop, or of giving their intended victims sufficient

advance notice of the attack to allow them to retrieve their firearm from the gun case and load it.

See Heller, 554 U.S. at 630 (striking down D.C’s requirement “that firearms in the home be

rendered and kept inoperable at all times” because it “makes it impossible for citizens to use

them for the core lawful purpose of self-defense and is hence unconstitutional”). The Second

Amendment right to armed self-defense is not a right to race your attacker back home so you can

retrieve your firearm.

       In short, the Second Amendment takes Pennsylvania’s flat ban on 18-to-20-year-olds’

right to carry firearms for self-defense “off the table.” Id. at 636. While the Third Circuit has




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directed the use of one of the “tiers of scrutiny” for most restrictions on the right to keep and

bear arms, the challenged provisions here completely ban protected Second Amendment conduct

so Heller’s categorical approach should apply. See Wrenn, 864 F.3d at 665 (striking down flat

ban on carrying arms categorically despite circuit precedent applying levels-of-scrutiny analysis

in other Second Amendment cases); Moore, 702 F.3d at 942 (same).

       C.      In the alternative, the challenged Pennsylvania ban fails any level of
               heightened constitutional scrutiny.

               1.     Strict scrutiny applies.

       Even if Pennsylvania’s restrictions were not categorically unconstitutional, they must at

the least be subjected to strict scrutiny. As the Supreme Court has explained, “strict judicial

scrutiny [is] required” whenever a law “impinges upon a fundamental right explicitly or

implicitly protected by the Constitution.” San Antonio Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1,

17 (1973). And the right to bear arms is not only enumerated in the constitutional text; it was

also counted “among those fundamental rights necessary to our system of ordered liberty” by

“those who drafted and ratified the Bill of Rights.” McDonald, 561 U.S. at 768, 778.

               2.     The challenged laws fail even intermediate scrutiny.

       Ultimately determining the correct standard of scrutiny is immaterial, however, because

Pennsylvania’s ban should be struck down under any level of heightened scrutiny.7

       i.      That is so, first, as a matter of law. By design, Defendants’ restrictions will reduce

firearm violence only by reducing the quantity of firearms in public. That is “not a permissible

strategy”—even if used as a means to the further end of increasing public safety. Grace v.

District of Columbia, 187 F. Supp. 3d 124, 148 (D.D.C. 2016), aff’d sub nom. Wrenn v. District


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         Because “rational basis” review is unavailable in the Second Amendment context, see
Heller 554 U.S. at 628 n.27, at a minimum intermediate scrutiny applies.



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of Columbia, 864 F.3d 650. That conclusion follows directly from the Supreme Court’s

precedents in the secondary-effects area of free speech doctrine.

       The Supreme Court has held that government restrictions on certain types of expressive

conduct—most commonly, zoning ordinances that apply to adult theaters, bookstores, and the

like—are subject to merely intermediate scrutiny, even though they are content-based, so long as

the purpose and effect of the restrictions is to reduce the negative “secondary effects” of the

expression—such as the increased crime that occurs in neighborhoods near adult theaters—rather

than to suppress the expression itself. City of Renton v. Playtime Theatres, Inc., 475 U.S. 41, 47–

51 (1986). But as Justice Kennedy’s controlling opinion in City of Los Angeles v. Alameda

Books, Inc., 535 U.S. 425 (2002), makes clear, in defending a restriction under this rubric, the

government may not contend “that it will reduce secondary effects by reducing speech in the

same proportion.” Id. at 449 (Kennedy, J., concurring). “It is no trick to reduce secondary effects

by reducing speech or its audience; but [the government] may not attack secondary effects

indirectly by attacking speech.” Id. at 450; see also Heller v. District of Columbia (Heller III),

801 F.3d 264, 280 (D.C. Cir. 2015); Drake, 724 F.3d at 455–56 (Hardiman, J., dissenting);

Grace, 187 F. Supp. 3d at 148.

       That is precisely analogous to what Pennsylvania law does here. The challenged limits do

not even regulate the manner of bearing arms in public, because they work to proscribe the

conduct completely. No, their purpose and effect is to limit the number of arms borne in public

by banning a subset of law-abiding adult citizens from engaging in the conduct; and to the extent

this leads to a reduction of gun crime, that is only a byproduct of this blunt suppression of the

quantity of Second Amendment conduct. That is “not a permissible strategy,” Grace, 187 F.

Supp. 3d at 148, under any level of heightened scrutiny.




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       ii.     Even if this threshold objection is set aside, the challenged limits still flunk

constitutional scrutiny. To survive intermediate scrutiny, a restriction must be “substantially

related to the achievement” of the government’s objective. United States v. Virginia, 518 U.S.

515, 533 (1996). “The burden of justification is demanding and it rests entirely on the State.” Id.

To be sure, the Government’s interest in protecting public safety from violent crime is

important—indeed, compelling. But there is simply no persuasive evidence showing that specific

the conduct at issue here—carrying firearms outside the home—poses any risk to public safety.

       Evidence from numerous states indicates that individuals who are licensed to carry

firearms are “much more law-abiding than the general population.” David B. Kopel, Pretend

“Gun-Free” School Zones: A Deadly Legal Fiction, 42 CONN. L. REV. 515, 572 (2009); see also

id. at 564–70 (discussing government data from Minnesota, Michigan, Ohio, Louisiana, Texas,

and Florida). Indeed, “many years of evidence across different states and time periods

overwhelmingly rejects” the claim that “permit holders will use their guns to commit crimes

instead of using their guns for self-defense.” David B. Mustard, Comment, in EVALUATING GUN

POLICY 325, 330 (Jens Ludwig & Philip J. Cook eds., 2003); see also id. at 330–31. As social

scientists in favor of gun control have acknowledged, there would be “relatively little public

safety impact if courts invalidate laws that prohibit gun carrying outside the home, assuming that

some sort of permit system for public carry is allowed to stand,” since “[t]he available data about

permit holders . . . imply that they are at fairly low risk of misusing guns.” Philip J. Cook et al.,

Gun Control After Heller, 56 UCLA L. REV. 1041, 1082 (2009).

       Further, even if laws that more freely grant permits have not been shown to decrease

crime, there is no persuasive evidence that they increase crime—and that is the proposition

Defendants must support. For instance, in 2004 the National Academy of Sciences’ National




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Research Council (“NRC”) conducted an exhaustive review of the relevant social-scientific

literature. The NRC concluded that “with the current evidence it is not possible to determine that

there is a causal link between the passage of right-to-carry laws and crime rates.” NATIONAL

RESEARCH COUNCIL, FIREARMS AND VIOLENCE: A CRITICAL REVIEW 150 (Charles F. Wellford,

John V. Pepper, & Carol V. Petrie eds., 2005), http://goo.gl/WO1ZNZ; see also Robert Hahn et

al., Firearms Laws and the Reduction of Violence: A Systematic Review, 28 AM. J.

PREVENTATIVE MED. 40, 53–54 (2005), http://goo.gl/zOpJFL (CDC study concluding that

existing evidence does not establish that more permissive carry regimes “increases rates of

unintended and intended injury”).

       The lack of evidence that laws restricting the carrying of firearms in public advance

public safety should not be surprising, because violent criminals will continue to carry guns in

public regardless. As the Supreme Court recently held in the context of abortion restrictions,

“[d]etermined wrongdoers, already ignoring existing statutes and safety measures, are unlikely to

be convinced to [change their conduct] by a new overlay of regulations.” Whole Woman’s Health

v. Hellerstedt, 136 S. Ct. 2292, 2313–14 (2016). This is not a novel proposition. In a passage

Thomas Jefferson copied into his personal quotation book, the influential Italian criminologist

Cesare Beccaria reasoned that laws forbidding the

       wear[ing of] arms . . . disarm[] those only who are not disposed to commit the
       crime which the laws mean to prevent. Can it be supposed, that those who have
       the courage to violate the most sacred laws of humanity, and the most important
       of the code, will respect the less considerable and arbitrary injunctions, the
       violation of which is so easy, and of so little comparative importance? . . . [Such a
       law] certainly makes the situation of the assaulted worse, and of the assailants
       better, and rather encourages than prevents murder.

See Stephen P. Halbrook, What the Framers Intended: A Linguistic Analysis of the Right To

“Bear Arms,” 49 LAW & CONTEMP. PROBS. 151, 154 (1986).




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       iii.    Nor is there any justification for singling out 18-to-20-year-olds, as a group,

because of their age. FBI statistics indicate that in 2019, individuals in the 18, 19, and 20-year-

old age brackets accounted for a marginally smaller share of violent crime arrests nationwide

than arrestees in the 21-year-old bracket.8 And even if the reverse were true, that alone could not

be sufficient reason to block the entire population of 18-to-20-year-olds from exercising their

Second Amendment rights outside the home. For if that reasoning were sound, then the

government could disarm other demographic groups simply because some number of that cohort

commits crimes with handguns at a higher rate than the general population. The most obvious

examples might be differentially higher gun-violence rates by males or by the poor. Could these

entire groups therefore be disarmed? To ask the question is to answer it.

       Further, only a minuscule fraction of 18-to-20-year-olds engage in criminal violence. FBI

and Census Bureau data report that only 1/4 of 1% of 18-to-20-year-olds were arrested for

violent crimes in 2019.9 Pennsylvania’s ban thus strips all 18-to-20-year-olds of their Second

Amendment rights because of the sins of a very, very few. Such a result would be unthinkable in

the context of any other constitutional right. See Southeastern Promotions, Ltd. v. Conrad, 420

U.S. 546, 559 (1975) (“deeply etched in our law [is the theory that] a free society prefers to

       8
          The 18, 19, and 20-year-old brackets accounted for 3%, 3%, and 2.9% of violent crime
arrests, respectively. FBI, Crime in the United States 2019, Table 38: Arrests by Age,
https://bit.ly/3logBfv. The 21-year-old bracket accounts for 3.1%. Id. Nor were the incidences of
arrest higher proportionally, for these groups: census data estimates that in 2019, the 18, 19, 20,
and 21-year-old age brackets each contained roughly the same number of individuals. See U.S.
Census Bureau, Annual Estimates of the Resident Population by Single Year of Age and Sex for
the United States: April 1, 2010 to July 1, 2019, https://bit.ly/3krgpL7 (18: 4,255,827; 19:
4,330,439; 20: 4,269,683; 21: 4,278,323).
        9
           FBI statistics record 32,119 arrests in 2019 of individuals aged 18 to 20 for violent
crimes. See FBI, Crime in the United States 2019, Table 38: Arrests by Age,
https://bit.ly/3logBfv. 2019 census statistics estimate that there are 12,855,949 individuals aged
18 to 20 in the United States. See U.S. Census Bureau, Annual Estimates of the Resident
Population, supra, https://bit.ly/3krgpL7. 32,119 / 12,855,949 = .0025, or .25%.



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punish the few who abuse rights of speech after they break the law than to throttle them and all

others beforehand”) (emphasis added); Craig v. Boren, 429 U.S. 190, 191, 201–02 (1976)

(statistics showing that 18-to-20-year-old men were over ten times more likely than their female

counterparts to be arrested for “alcohol-related driving offenses” “hardly can form the basis for

employment of a gender line as a classifying device”); Hodgson v. Minnesota, 497 U.S. 417,

446-47 (1990) (“ ‘The statist notion that governmental power should supersede parental authority

in all cases because some parents abuse and neglect children is repugnant to American tradition.’

”). It can be no more permissible under the Second Amendment. McDonald, 561 U.S. at 780.

       iv.     Even if the challenged limits on 18-to-20-year-old citizens’ right to bear arms

could be shown likely to marginally increase public safety (and they cannot), that would still not

end the matter, because any such public-safety benefits would need to be weighed against the

public-safety costs of preventing these law-abiding adults from engaging in effective self-

defense in public. And those costs are substantial. Although the number of defensive gun uses is

difficult to measure, the leading study on the issue, the National Self-Defense Survey,

“indicate[s] that each year in the U.S. there are about 2.2 to 2.5 million [defensive uses of guns]

of all types by civilians against humans.” Gary Kleck & Marc Gertz, Armed Resistance to

Crime: The Prevalence and Nature of Self-Defense With a Gun, 86 J. CRIM. L. & CRIMINOLOGY

150, 164 (1995). “At least 19 other surveys have resulted in [similar] estimated numbers of

defensive gun uses.” NATIONAL RESEARCH COUNCIL, supra, at 103. Many of these defensive gun

uses involve carrying firearms in public. The National Self-Defense Survey indicates that

“anywhere from 670,000 to 1,570,000 [defensive gun uses] a year occur in connection with gun

carrying in a public place.” Gary Kleck & Marc Gertz, Carrying Guns for Protection: Results

from the National Self-Defense Survey, 35 J. RESEARCH IN CRIME & DELINQUENCY 193, 195




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(1998). Any realistic appraisal of existing social-scientific data thus leads inexorably to the

conclusion that the challenged ban cannot be shown to benefit the public safety—but it may well

harm it.

       v.      Even if Pennsylvania’s limits did advance public safety on balance, they still fail

heightened scrutiny because they are not properly tailored. While laws subject to intermediate

scrutiny “need not be the least restrictive or least intrusive means of serving the government’s

interests,” they still must be narrowly tailored, possessing “a close fit between ends and means.”

McCullen v. Coakley, 134 S. Ct. 2518, 2534–35 (2014) (quotation marks omitted). Here, there is

an utter lack of fit between the challenged limits and their purported objective of public safety.

       The effect of the challenged provisions, taken together, is that while law-abiding 18-to-

20-year-olds may lawfully carry firearms openly in ordinary times, they cannot do so at present

because of the existence of the COVID-19 pandemic and the opioid epidemic. That is a complete

non-sequitur. There is no conceivable explanation why the urgent need to stop the spread of

COVID-19—or to address the outbreak of addiction to opioids in recent years—somehow calls

for limiting the rights of law-abiding 18-to-20-year-olds to carry arms for self-defense outside

the home. The phenomena are completely unrelated. Indeed, the contention that a public-health

emergency of these kinds justifies a limit on the Second Amendment rights of law-abiding adults

is so absurd that it would not pass even rational basis review.

       Even if the specific nature of the present emergency is set aside, the challenged limits still

fail. Far from becoming somehow less important during a time of disaster or upheaval, these

periods of crises are when the rights secured by the Second Amendment are needed most. “The

Second Amendment is a doomsday provision,” Silveira v. Lockyer, 328 F.3d 567, 570 (9th Cir.

2003) (Kozinksi, J., dissenting from denial of rehearing en banc), designed to enable ordinary




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citizens to protect themselves and their families when all else fails. It is thus precisely during an

emergency—when the social fabric is strained, and law-enforcement resources are stretched thin

by the urgent need to address the crisis immediately at hand—that law-abiding citizens,

including those aged 18 to 20, must be able to act as their own first responders until the crisis has

passed.

          At a bare minimum, if Pennsylvania genuinely believes that the presence of an

emergency—of any kind—justifies limiting the Second Amendment rights of 18-to-20-year-olds,

it had a constitutional obligation to do so in the least-constitutionally-intrusive way possible. See

McCullen v. Coakley, 134 S. Ct. 2518, 2540 (2014). Here, a less-intrusive limit is readily

available: requiring 18-to-20-year-olds who wish to carry firearms openly in times of emergency

to go through the same permitting requirements, set forth in 18 PA. C.S. § 6109, that

Pennsylvania believes are sufficient to protect against violent crime in other adults. Yet there is

no evidence that the Commonwealth even considered these alternatives—which is alone fatal,

under intermediate scrutiny. See McCullen, 134 S. Ct. at 494; see also Bruni v. City of

Pittsburgh, 824 F.3d 353, 371 (3d Cir. 2016).

II.       Plaintiffs will suffer irreparable injury absent preliminary injunctive
          relief.

          The conclusion that Plaintiffs have a reasonable probability of success on their

constitutional claims compels the conclusion that Plaintiffs face irreparable injury in the absence

of injunctive relief. It is well-accepted that the deprivation of a constitutional right constitutes

irreparable harm. See, e.g., K.A. ex rel. Ayers v. Pocono Mountain Sch. Dist., 710 F.3d 99, 113

(3d Cir. 2013); see also 11A CHARLES ALAN WRIGHT, ARTHUR R. MILLER, MARY KAY KANE,

FEDERAL PRACTICE AND PROCEDURE § 2948.1 (2d ed. 1995) (“When an alleged deprivation of a

constitutional right is involved, most courts hold that no further showing of irreparable injury is



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necessary.”). The Third Circuit has recognized this rule in the context of a variety of

constitutional rights. See, e.g., K.A. ex rel. Ayers, 710 F.3d at 113. (First Amendment); Lewis v.

Kugler, 446 F.2d 1343, 1350 (3d Cir. 1971) (Fourth Amendment). Rights under the Second

Amendment should be treated no differently. McDonald, 561 U.S. at 780; Ezell v. City of

Chicago, 651 F.3d 684, 700 (7th Cir. 2011).

III.      The other equitable factors favor the issuance of a preliminary
          injunction.

          The public interest and balance of equities likewise favor Plaintiffs. “[I]t is always in the

public interest to prevent the violation of a party’s constitutional rights,” Connection Distrib. Co.

v. Reno, 154 F.3d 281, 288 (6th Cir. 1998), for “the enforcement of an unconstitutional law

vindicates no public interest,” K.A. ex rel. Ayers, 710 F.3d at 114; see Issa v. Sch. Dist. of

Lancaster, 847 F.3d 121, 143 (3d Cir. 2017) (“[I]f a plaintiff demonstrates both a likelihood of

success on the merits and irreparable injury, it almost always will be the case that the public

interest will favor the plaintiff.”); see also Wrenn, 864 F.3d at 667. On the other side of the scale,

Defendants suffer little harm, as they have no valid interest in enforcing Pennsylvania’s

unconstitutional ban and, as explained above, there is no reason to believe it will advance public

safety.

IV.       The Court should waive the bond or set it at a nominal amount.

          While Federal Rule of Civil Procedure 65 provides that “[t]he court may issue a

preliminary injunction . . . only if the movant gives security in an amount that the court considers

proper to pay the costs and damages sustained by any party found to have been wrongfully

enjoined,” the Third Circuit has recognized that the district court may sometimes dispense with

that requirement. Temple Univ. v. White, 941 F.2d 201, 219 (3d Cir. 1991). In “noncommercial

cases” such as this one, the court should “balance the equities” implicated by the request for an



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injunction, Elliott v. Kiesewetter, 98 F.3d 47, 59–60 (3d Cir. 1996), and “should also consider

whether the applicant seeks to enforce a federal right and, if so, whether imposing the bond

requirement would unduly interfere with that right,” Borough of Palmyra, Bd. of Educ. v. F.C.

Through R.C., 2 F. Supp. 2d 637, 646 (D.N.J. 1998). Here, any injunction would not financially

harm the Defendants, while imposing a more than de minimis bond would unduly interfere with

Plaintiffs’ Second Amendment Rights. Plaintiffs should therefore not be required to post

security, or should be required to post only a nominal amount.

V.     The Court Should Enter Final Judgment Awarding a Permanent
       Injunction.

       For the foregoing reasons, Plaintiffs are entitled to a preliminary injunction restraining

the enforcement of the challenged restrictions on their Second Amendment rights; and because

the claims in this case require no further factual development, permanent injunctive relief is

likewise appropriate. FED. R. CIV. P. 65(a)(2) authorizes a court considering a motion for

preliminary injunctive relief to “advance the trial on the merits and consolidate it with the

hearing” on the motion for preliminary relief in appropriate cases. See DeLeon v. Susquehanna

Cmty. Sch. Dist., 747 F.2d 149, 152 n.6 (3d Cir. 1984) (“[A] preliminary injunction hearing may

be combined with a hearing on the merits, pursuant to Fed. R. Civ. P. 65(a)(2), if it is

accompanied by notice to the parties sufficient to enable them to present all of their evidence.”);

see also Getzes v. Mackereth, 2013 WL 5882040, at *2 (M.D. Pa. Oct. 30, 2013). Courts have

repeatedly held that such consolidation is appropriate where “no factual or legal disputes will

remain once the Court resolves the preliminary injunction motion,” Morris v. District of

Columbia, 38 F. Supp. 3d 57, 62 n.1 (D.D.C. 2014), such that “the eventual outcome on the

merits is plain at the preliminary injunction stage,” Curtis 1000, Inc. v. Suess, 24 F.3d 941, 945

(7th Cir. 1994); accord Baby Tam & Co. v. City of Las Vegas, 154 F.3d 1097, 1102 (9th Cir.



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1998), abrogated on other grounds Dream Palace v. County of Maricopa, 384 F.3d 990, 1002

(9th Cir. 2004); Kickapoo Traditional Tribe of Texas v. Chacon, 46 F. Supp. 2d 644, 648–49

(W.D. Tex. 1999).

       That is the case here. The facts relevant to Plaintiffs’ challenge—that they are law-

abiding adults between the ages of 18 and 21, not disqualified from exercising their Second

Amendment rights, and otherwise eligible to acquire a license to carry firearms in public, and

that the effect of the challenged restrictions is to wholly prevent them from carrying firearms in

public for self-defense—are not plausibly in dispute. Rather, whether Plaintiffs’ challenge will

prevail turns entirely on this Court’s resolution of the questions of law presented above—

questions that, as we have explained, the Court is bound to resolve in Plaintiffs’ favor as a matter

of law. Accordingly, “the merits of the plaintiffs’ challenge are certain and don’t turn on

disputed facts,” and the Court should enter final judgment and permanent, not merely

preliminary, injunctive relief. Wrenn, 864 F.3d at 667; see also Moore, 702 F.3d at 942.

                                        CONCLUSION

       For all these reasons, this Court should enjoin Defendants from enforcing those

provisions of 18 PA. C.S. §§ 6106, 6107, and 6109 that prohibit Plaintiffs and other similarly

situated law-abiding adults from exercising the Second Amendment right to carry operable

firearms in public for all lawful purposes, including self-defense.



Dated: December 1, 2020                           Respectfully submitted,

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